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                         IN THE UNITED STATES DISRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



   CONRAD SMITH, et al.,

                                   Plaintiffs,
                           v.                                  Case No. 1:21-cv-02265-APM

   DONALD J. TRUMP, et al.,

                                   Defendants.




MOTION OF DEFENDANT ALI ALEXANDER TO EXTEND TIME TO RESPOND TO
  PLAINTIFFS’ FIRST SET OF REQUEST FOR PRODUCTION OF DOCUMENTS
PENDING DISPOSITION OF TRUMP DEFENDANTS’ MOTION FOR PROTECTIVE
        ORDER REGARDING PREMATURE DISCOVERY REQUESTS


       Defendant Ali Alexander hereby moves for an extension of time to respond to Plaintiffs’

First Set of Request for Production of Documents pending disposition of Trump Defendants’

Motion for Protective Order Regarding Premature Discovery Requests (ECF No. 170).

       1. On or about December 6, 2022, undersigned counsel’s office received a voluminous

18-page First Set of Request for Production from plaintiffs’ counsel. Similar requests were sent

to the other defendants in this case.

       2. On December 23, 2022, the Trump Defendants filed a Motion for Protective Order

Regarding Premature Discovery Requests, arguing, inter alia, that plaintiffs’ discovery request

was premature in light of the pending motions to dismiss the complaint filed by the defendants in

this case, and that the relief requested should apply to the other defendants as well.

       3. Defendant’s counsel asked plaintiffs’ counsel if they would agree to postpone

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defendant’s response to their discovery request pending disposition of Trump Defendants’

motion for a protective order. They refused, thereby necessitating the filing of this motion.

       4. Defendant Alexander hereby adopts the Trump Defendants’ motion by reference, but

reserves his right to raise other objections to the document request should the Court deny Trump

Defendants’ motion.

       Wherefore, Defendant Alexander moves for an extension of time to respond to Plaintiffs’

First Set of Request for Production until the disposition of the pending Trump Defendants’

Motion for Protective Order.




                                                                            Respectfully submitted,
                                                                              /s/ Paul D. Kamenar
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                                                                 Attorney for Defendant Alexander

                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 4, 2023, I caused the foregoing Motion to Extend Time to

 Respond to Plaintiffs’ Request for Discovery and Proposed Order to be filed via the CM/ECF

 system for the U.S. District Court for the District of Columbia, which I understand caused a copy

 to be served on all registered parties.



Dated: January 4, 2023                        Respectfully submitted,
                                              /s/ Paul D. Kamenar
                                              Paul D. Kamenar



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